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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 Intersections Inc. and Net Enforcers, Inc.,

                     Plaintiffs,                      Civil Action No. 1:09CV597 (LMB/TCB)
                v.

 Joseph C. Loomis and Jenni M. Loomis,

                     Defendants.


              PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR
   MOTION TO FILE UNDER SEAL THE MEMORANDUM IN SUPPORT OF THEIR
            MOTION TO ENFORCE THE SETTLEMENT AGREEMENT,
               THE DECLARATION OF MICHELLE J. DICKINSON,
   FILED IN SUPPORT THEREOF, AND EXHIBITS 1 AND 2 APPENDED THERETO

        Plaintiffs Intersections Inc. (“Intersections”) and Net Enforcers, Inc. (“NEI”), by counsel,

 respectfully request that the Court enter an Order sealing (1) the Memorandum in Support of

 their Motion to Enforce the Settlement Agreement (the “Memorandum in Support”), (2) the

 Declaration of Michelle J. Dickinson, filed in support thereof (the “Dickinson Declaration”), and

 (3) Exhibits 1 and 2 appended to the Dickinson Declaration (the “Exhibits”). In support of this

 Motion, Plaintiffs state as follows:

        1.      On May 27, 2009, Plaintiffs filed with the Court a Complaint alleging that

 Defendants Joseph C. Loomis (“Joe Loomis”) and Jenni M. Loomis “(Jenni Loomis”) engaged

 in a scheme to defraud Intersections in connection with Intersections’ acquisition of NEI in 2007.

 Indeed, Defendants defrauded Intersections out of millions of dollars by making it appear as

 though Joe Loomis’ company, NEI, was something other than it was. They did so, purposefully

 and collectively, by cooking the company’s books and overcharging NEI’s customers, both
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 before Intersections acquired NEI and thereafter during the period when Joe Loomis continued to

 run NEI for Intersections and Jenni Loomis continued to work as its bookkeeper.

        2.      On January 14, 2010, the parties settled those claims. Pursuant to the terms of the

 settlement agreement, the terms of the settlement are to be kept confidential except as required

 by law, potential acquirers, advisors, and accountants.

        3.      Defendants have failed to comply with the terms of the settlement agreement.

 Plaintiffs, therefore, today are filing a Motion to Enforce the Settlement Agreement, the

 Memorandum in Support, the Dickinson Declaration, and the Exhibits.

        4.      The Memorandum in Support, the Dickinson Declaration, and the Exhibits all

 contain detailed information concerning the terms of the settlement agreement. Indeed, Exhibit 1

 to the Dickinson Declaration contains the handwritten notes of United States District Magistrate

 Judge Theresa Carroll Buchanan, who presided over the settlement conference during which the

 parties entered into the settlement agreement. This information is, by agreement of the parties, to
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 be kept confidential.

        5.      Public disclosure of the confidential information contained in the Memorandum in

 Support, the Dickinson Declaration, and the Exhibits would violate the express terms of the

 settlement agreement.

        6.      Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000), sets forth the legal

 standard that this Court must apply when determining whether it is appropriate to order the

 sealing of documents. It states that before entering an Order to seal, a district court must “(1)

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   Though Plaintiffs’ Motion to Enforce the Settlement Agreement discloses the total amount that
 Defendants agreed to pay Plaintiffs as part of the settlement agreement, that information
 previously was disclosed by Joe Loomis in a filing with the United States Bankruptcy Court for
 the District of Arizona. Plaintiffs, therefore, do not seek to seal their Motion to Enforce the
 Settlement Agreement. Plaintiffs also do not seek to seal Exhibits 3 and 4 attached to the
 Dickinson Declaration.




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 provide public notice of the request to seal and allow interested parties a reasonable opportunity

 to object, (2) consider less drastic alternatives to sealing the documents, and (3) provide specific

 reasons and factual findings supporting its decision to the seal the documents and for rejecting

 the alternatives.”

        7.      Plaintiffs’ motion to seal has been docketed for hearing on Friday, July 9, 2010,

 thus providing public notice and a reasonable opportunity for interested parties to object.

        8.      Redacting the information from these documents is not a viable option, given that

 the sole focus of the documents is the terms of the settlement agreement and Defendants’

 violation of the agreement.       There thus are no less drastic alternatives to sealing the

 aforementioned documents.

        9.      The third Ashcraft consideration also is easily satisfied. On January 14, 2010, the

 parties entered into a settlement agreement, which required the terms of the settlement agreement

 to be kept confidential. Defendants violated the terms of the settlement agreement, and now Joe

 Loomis contends that there was no enforceable settlement agreement. Plaintiffs, therefore, filed

 a Motion to Enforce the Settlement Agreement, the Memorandum in Support, the Dickinson

 Declaration, and the Exhibits. The Memorandum in Support, the Dickinson Declaration, and the

 Exhibits contain confidential information regarding the terms of the settlement agreement.



        WHEREFORE, Plaintiffs respectfully request that the Court enter an Order sealing the

 Memorandum in Support, (2) the Dickinson Declaration, and (3) Exhibits 1 and 2.




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 Dated: June 30, 2010                Respectfully submitted,


                                     By:       /s/
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of June, 2010, I will electronically file the foregoing

 Plaintiffs’ Memorandum in Support of their Motion to File Under Seal the Memorandum in

 Support of their Motion to Enforce the Settlement Agreement, the Declaration of Michelle J.

 Dickinson Filed in Support Thereof, and Exhibits 1 and 2 Appended Thereto, with the Clerk of

 the Court using the CM/ECF system, which will then send a notification of such filing (NEF) to

 the following:


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